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EXHIBIT A

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UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA
in re Wawa, Inc. Data Security Litigation, No. 19-cv-6019-GEKP (E.D. Pa.)

IF YOU USED A CREDIT OR DEBIT CARD AT ANY WAWA CONVENIENCE STORE OR FUEL
PUMP BETWEEN MARCH 4, 2019 AND DECEMBER 12, 2019,
YOU MAY BE PART OF A CLASS ACTION SETTLEMENT

You can access and submit a Claim Form by clicking on one of the three links in the chart below

A court authorized this notice. This is not a solicitation from a lawyer.

Wawa, Inc. (“Wawa”) has agreed to pay up to $9 million in cash and Gift Cards to settle a class action
lawsuit regarding a data security incident Wawa announced in December 2019. As previously announced,
between March 4, 2019 and December 12, 2019 (the “Period of the Security Incident”), cybercriminals
accessed Wawa’s computer systems and obtained customers’ cardholder information, including credit and
debit card numbers, card expiration dates, and cardholder names on payment cards that were used at
Wawa stores or fuel pumps during that time period (the “Data Security Incident’). This settlement resolves
claims on behalf of all customers who used their credit or debit cards at Wawa during the Period of the
Security Incident (the “Settlement”). In addition to the Gift Cards and monetary compensation described
below, Wawa has implemented and agreed to further implement significant data security enhancements,
collectively valued at no less than $35 million. Wawa has denied the allegations made by the plaintiffs in
these cases.

Settiement Class

The Settlement Class consists of all customers who reside in the United States and who used a credit or
debit card at a Wawa convenience store or fuel pump at any time during the Period of the Security Incident.
Excluded from the Class are Wawa’'s executive officers and the Judge to whom the Lawsuit is assigned.

Summary of the Settlement Terms

The Settlement provides three alternative Tiers of relief to Class Members who submit a valid Claim Form:

CATEGORY WHO IS ELIGIBLE WHAT or CAN | HOW TO OBTAINIT
Customers who: (a) made a credit or debit Cc . $5 Wawa
Tier One card purchase at Wawa during the Period of Wa eGift Ce 4 AAS Fen Alcon
the Security Incident; (b) did not suffer | *¥8Wa Slt var diaseteMent.com
attempted or actual fraud on their card; and
(c) spent at least some time monitoring their
accounts as a result of the Data Security
Incident.
Customers who: (a) made a credit or debit Can receive a www,WawaConsumer
Tier Two cara Security Tncident oy ihe Perovic $15 Wawa Gift | DataSettlement.com
reasonable proof of an actual or attempted Card
fraudulent charge on their card after that
transaction; and (c} spent at least some time
monitoring their accounts as a result.
Customers who: (a) made a credit or debit Can receive cash | www.WawaConsumer
Tier Three card purchase at Wawa during the Period of reimbursement DataSettlement com
the Security Incident; and (b) can provide
reasonable documentary proof of money of up to $500

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they lost or spent out-of-pocket in
connection with an actual or attempted
fraudulent transaction on the card that is
reasonably attributable to the Data Security
Incident.

Class Members can receive relief from a single Tier only and may submit one claim form (regardless of
the number of cards they used or transactions they made at Wawa during the Period of the Security
Incident).

The Court in charge of this case still has to decide whether or not to approve the Settlement. If the Court
approves the Settlement, Gift Cards or cash reimbursement will be sent after any appeals are resolved,

Your LEGAL RIGHTS AND OPTIONS UNDER THE SETTLEMENT
Option 1: Submit a Claim Form to be Eligible for Compensation

If you timely submit a valid Claim Form by November 29, 2021, you will receive compensation. You will also give
up your right to sue Wawa regarding the Data Security Incident.

Option 2: Exclude Yourself From the Settlement

lf you do not wish to receive compensation from the Settlement and you would like to retain the right to sue Wawa
over the Data Security Incident on your own at your own expense and on an individual rather than a class basis,
you will need to exclude yourself from the Class. You will get no monetary compensation from the Settlement. The
deadline to exclude yourself (also called “opting out") is November 12, 2021.

Option 3: Object to the Settlement

You have a right to stay in the Class and submit a written objection that the Settlement should not be approved.
You will still be bound by the Settlement if it is approved and you will not be allowed to exclude yourself from the
Settlement. The deadline to object is November 12, 2021. You can also ask to be permitted to speak in Court
about the fairness of the Settlement.

Option 4: Do Nothing

If you do nothing, you will not receive any payment. You will be bound by the Settlement’s terms and will lose the
right to sue Wawa regarding the Data Security Incident. All Class Members, however, will receive the benefit of
Wawa’s data security enhancements, regardless of whether or not they submit a Claim Form.

THE SETTLEMENT BENEFITS

Class Members who submit valid and timely claims will be entitled to either a Wawa Gift Card or cash
reimbursement of actual out-of-pocket expenses and losses.

There are three Tiers of compensation. You are entitled to compensation in only a single Tier and will be
required to select the appropriate Tier when you submit a claim. You are only entitled to one payment,
regardless of how many credit or debit cards you used at Wawa during the Period of the Security Incident
or how many times you used your card at Wawa. In order to claim a payment, you must provide
documentation with your appropriate Tier Claim Form as set forth below.

TIER ONE

Class Members who made a credit or debit card purchase at any Wawa convenience store or fuel pump
between March 4, 2019 and December 12, 2019 but experienced no actual or attempted fraudulent charge
on their credit or debit card and must: (a) provide reasonable proof of such a purchase; and (b) attest that
they spent some amount of time after March 4, 2019 monitoring their accounts as a result of the Data
Security Incident.

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Reasonable proof of purchase may include:

A bank statement or credit card statement;

A screen shot from a banking or credit card company website or mobile app;

A Wawa receipt; or

Any other reasonable proof that verifies the date of the transaction and the fact that it was at a
Wawa store or fuel pump.

Tier One claimants will be entitied to a $5 Wawa Gift Card. Total Tier One compensation is subject to a
$6 million ceiling and $1 million floor. That means that if the total value of all of the Gift Cards in Tier One
would be more than $6 million, each gift card will be reduced on a pro rata basis so that the total vaiue
distributed is $6 million. If the total value of all of the Gift Cards in Tier One woutd be less than $1 million,
the value of each Gift Card will be increased on a pro rata basis until the total value distributed in Tier One
is $1 million.

TIER TWO

Class Members who experienced an actual or attempted fraudulent transaction after March 4, 2019 ona
credit or debit card they used at a Wawa convenience store or fuel pump during the Period of the Security
Incident but have no out-of-pocket damages in connection with that actual or attempted fraudulent
transaction are entitled to a Tier Two payment. Tier Two claimants must: (a) provide reasonable proof of
a credit or debit card purchase at Wawa between March 4, 2019 and December 12, 2019, (b) provide
reasonable proof of an actual or attempted fraudulent transaction on the card that occurred after that
purchase; and (c) attest that they spent some amount of time after March 4, 2019 to monitor their accounts
or otherwise deal with the fraudulent transaction.

Reasonable forms of proof of an actual or attempted fraudulent transaction may include:

A bank statement or credit card statement;

A screen shot from a bank account or credit card account on a website or mobile app;
An email or other correspondence with the bank or credit card company;

A police report; or

Any other reasonable proof.

Reasonable proof may include proof of reversal of the fraudulent charge.

Tier Two claimants will be entitled to a $15 Wawa Gift Card. Total Tier Two compensation is subject to a
$2 million ceiling and no floor. That means that if the total value of all of the Gift Cards in Tier Two exceeds
$2 million, each gift card will be reduced in value on a pro rata basis until the total value distributed to alll
Tier Two claimants is $2 million.

TiER THREE

Class Members who experienced an actual or attempted fraudulent transaction on their credit or debit card
and have actual out-of-pocket losses in connection with such actual or attempted fraudulent transaction
reasonably attributable to the Data Security Incident are entitled to a Tier Three payment. Tier Three
claimants must provide: (a) reasonable proof of a credit or debit card purchase at Wawa between March
4, 2019 and December 12, 2019; (b) reasonable proof of an actual or attempted fraudulent transaction on
the same card after the Wawa purchase, or a reversal of a fraudulent transaction that occurred after the
date of purchase; and (c) reasonable proof of the resulting actual out-of-pocket expense(s) or loss.

Actual out-of-pocket expenses and losses may include, but are not limited to:

» Unreimbursed fraud charges;
e Bank fees:
e« Replacement card fees,

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* Late fees from transactions with third parties that were delayed due to fraud or card replacements;

e Credit freeze fees;

* Parking expenses or transportation expenses for trips to a financial institution to address fraudulent
charges or receive a replacement card; or

« Other expenses reasonably attributable to the Data Security Incident.

Reasonable forms of proof of an out-of-pocket expense may include:
e Areceipi;
« A bank statement or credit card statement;
e A screen shot from a bank account or credit card account;
e Anemail or other correspondence with a bank, credit card issuer, merchant or vendor,
e A police report; or
« Any other reasonable form of proof.

Acceptable forms of proof of a Wawa purchase and an actual or attempted fraudulent transaction are
described in Tier One and Tier Two above,

Tier Three claimants will be entitled to a cash payment (not a Wawa Gift Card) equal to their out-of-pocket
expenses or losses up to $500. Tier Three compensation is subject to a $1 million ceiling and no floor.
That means that if the aggregate value of valid claims exceeds $1 million, the amount of individual
distributions will be reduced on a pro rata basis for all Tier Three claimants.

Each Class Member is only entitled to make one claim, regardless of how many debit or credit
cards they used at Wawa during the Period of the Security Incident and regardless of how many
times they used the card at Wawa. Class Members are not entitled to more than one form of
recovery.

Any information that you provide as part of this settlement - including your name, e-mail address,
mailing address, or any other contact information - will not be used by Wawa or any third party for
any marketing purpose, or for any other reason that is unrelated to the administration of this
settiement.

For a period of two years after the Settlement is approved by the Court, Wawa agrees to an injunction
which requires it to: (a) retain a qualified security assessor on an annual basis to assess compliance with
payment card industry requirements and issue a Report on Compliance evidencing compliance with all
requirements; (b) conduct annual penetration testing and remediate critical vulnerabilities or implement
compensating controls; (c) encrypt payment card information and comply with EMV security procedures at
point of sale terminals in Wawa stores; (d) implement EMV security procedures at Wawa fuel pumps; and
(e) maintain written information security programs, policies, and procedures. These enhancements, along
with other enhancements made prior to the settlement and attributed in part to this litigation, are valued at
no less than $35 million. Class Members do not need to submit a claim form in order to receive this benefit
under the settlement.

Wawa will email electronic Wawa Gift Cards to Class Members at the email address provided in the Claim
Form for members of Tier One and Tier Two. If Class Members do not have an email account of their own,
they can provide an alternative email account of a friend or family member who can receive the electronic
Gift Card on that Class Member's behalf. The Gift Card will be in electronic form and can either be scanned
in-store directly from a Class Member’s smartphone or may be printed out and scanned in hard copy. The
Gift Cards shall be fully transferable, shall not expire in less than one year, and shall be usable toward the
purchase of any item (including fue! paid for inside the store) sold at Wawa stores or fuel pumps, other

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than cigarettes and other tobacco or nicotine products. The Wawa Gift Cards may be used multiple times
if the initial transaction is less than their full face value.

How To GET BENEFITS

To receive a Gift Card or cash payment, you must complete and submit the appropriate Tier Claim Form
with supporting documentation. Clain Forms are available on this website:
www. WawaConsumerDataSettlement.com, by clicking the links at the beginning of this Notice, or you may

have one mailed to you by calling 1-866-817-4934. Claim Forms will also be accessible by scanning a QR
code at all Wawa locations between August 30, 2021 and September 27, 2021, which will link to the
Settlement Website containing hyperlinks to the Claim Forms. Read the instructions carefully, fill out the
Claim Form, and submit it online by November 29, 2021 or print it out and mail it postmarked no later than
November 29, 2021 to:

Wawa Consumer Data Settlement
P.O. Bax 43502
Providence, RI 02940-3502

Claim forms and supporting documentation can also be emailed to
info@wAWAConsumerDataSettlement.com.

If you submit a complete, valid, and timely Claim Form, the Claims Administrator will send your Gift Card
or cash payment to you after the Court grants final approval of the Settlement and any appeals have been
exhausted. Please be patient as this process may take some time. Neither Wawa, the Claims
Administrator, nor Class Counsel has control over how long it may take to receive your Gift Card or cash
payment. The Claims Administrator may require additional information from any claimant if the original
claim submission is deficient.

Unless you exclude yourself from the Settlement, you cannot sue Wawa for the Data Security Incident
resolved by this Settlement. The specific claims you are giving up against \Wawa are described in Section
XII} of the Settlement Agreement. You will be “releasing” Wawa and ail related people or entities as
described in Section XII of the Settlement Agreement. The Settlement Agreement is available at
www.WawaConsumerDataSettlement.com.

The Settlement Agreement describes the released claims very specifically, so please read it carefully. If
you have any questions, you can contact the law firms listed in Question 8 for free or you can consult your
own lawyer at your own expense if you have questions about what the release means.

EXCLUDING YOURSELF FROM THE SETTLEMENT

If you do not want to receive compensation from this settlement, but you want to keep the right to sue
Wawa on your own and at your own expense about the Data Security Incident, then you must take steps
to get out of the Settlement Class. This is called excluding yourself from—or is sometimes referred to as
“opting out” of—the Settlement Class. If you opt out of the Settlement Class, you will not be bound by any
judgment in this case. You must exciude yourself from the Settlement Class to pursue any other jawsuit
against Wawa for the claims arising in this case. IF YOU EXCLUDE YOURSELF FROM THE
SETTLEMENT, YOU WILL NOT BE ENTITLED TO RECEIVE MONETARY COMPENSATION FROM
THE SETTLEMENT.

Questions? Call (866) 817-4934 or visit www.WawaConsumerDataSettlement.com.
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To exclude yourself, you must send a letter by U.S. Mail saying you wish to do so. Your “Request for
Exclusion” must include:

e The name of this lawsuit (in re Wawa, Ine. Data Security Litigation (“Consumer Track’), No. 19-cev-
6019-GEKP (E.D. Pa.});
Your name and address;

e« Astatement requesting exclusion from the Ciass; and

e Your signature

You must mail your Exclusion Request postmarked by November 12, 2021, to:

Wawa Settlement Exclusions
P.O. Box 43502
Providence, RI 02940-3502

THE LAWYERS REPRESENTING YOU

Yes. The Court appointed the following lawyers as “Class Counsel”: Sherrie R. Savett of Berger Montague,
PC, 1818 Market Street, Suite 3600, Philadelphia, PA 19103; Benjamin F. Johns of Chimicles Schwartz
Kriner & Donaldson-Smith LLP, 361 W. Lancaster Avenue, Haverford, PA 19041; Roberta D. Liebenberg
of Fine, Kaplan and Black, R.P.C., One South Broad Street, 23 Floor, Philadelphia, PA 19107; and Linda
P. Nussbaum of Nussbaum Law Group, P.C., 1211 Avenue of the Americas, 40" Floor, New York, NY
40036. You will not be charged for these lawyers. If you want to be represented by your own lawyer, you
may hire one at your own expense.

Class Counsel will ask the Court to award $3.2 million for attorneys’ fees, litigation costs, and the cost of
the third-party Claims Administrator. The attorneys’ fees will compensate Class Counsel for their role in
obtaining both the monetary relief and improvements in Wawa's data security practices. Class Counsel
will also ask the Court to approve a $1,000 service award for each of the 14 Class Representatives for
their efforts in litigating this case on behalf of the Settlement Class. One of these Class Representatives
was a plaintiff in a related case in New Jersey state court, which is included in this settlement. Any amount
that the Court awards for these collective items will be paid directly by Wawa, and will not reduce the
amount made available to compensate Class Members.

OBJECTING TO THE SETTLEMENT

You can object to the Settlement if you do not like it or some part of it and think that it should not be
approved. The Court will consider your views. To do so, you must submit your written objection to the
Clerk of Court and the Claims Administrator at the addresses below.

Your objection must include the following:

e The name of the lawsuit (in re Wawa, Inc. Data Security Litigation (“Consumer Track’), No. 19-cv-
6019-GEKP (E.D. Pa.));
Questions? Call (866) 817-4934 or visit www.WawaConsumerDataSettlement.com.
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* Your full name, address, telephone number, e-mail address (if any), and signature;

¢ Information confirming that you are a member of the Settlement Class (for example, proof of a
credit or debit card purchase at a Wawa store or fuel pump during the Period of the Security
incident);
The specific reasons for your objection;

e Astatement as to whether your objection only applies to you, or to a specific subset of the class,
or applies to the entire class;

* The names and addresses of ail lawyers representing you in connection with the objection (if any);

e Astatement as to whether you and/or your lawyer intend to appear at the Fairness Hearing; and

« Alist, by case name, court, and docket number, of all other cases in which you and/or your lawyer(s)
have filed an objection to any proposed class action settlement within the last five (5) years.

You may (but are not required to) include copies of any documents you wish to submit in support of your
position, and any legal support for your objection that you believe is applicable.

You must mail the objection to both the Court and the Settlement Administrator at the following addresses,
and it must be postmarked no later than November 12, 2021:

THE COURT - © SETTLEMENT ADMINISTRATOR

Clerk of Court
United States District Court for the
Eastern District of Pennsylvania
U.S. Courthouse

601 Market Street, Room 2609
Philadelphia, PA 19106

Wawa Settlement Objections
P.O. Box 43502
Providence, R] 02940-3502

Objecting is telling the Court you do not like the Settlement and why you think-it, or parts of it, should not
be approved. You can object only if you do not exclude yourself from the Class. Excluding yourself is
telling the Court that you do not want to be part of the Class. If you exclude yourself, you have no basis
to object because the case no longer affects you.

FINAL APPROVAL HEARING

The Judge presiding over this matter, the Hon. Gene E.K. Pratter, will hold a Fairness Hearing at
40:00 a.m. on January 26, 2022, at the United States District Court for the Eastern District of
Pennsylvania, located at the James A. Byrne U.S. Courthouse, 601 Market Street, Philadelphia, PA 19106,
Courtroom 10B. The hearing may be moved to a different date or time without additional notice, so itis a
good idea to check www.WawaConsumerDataSettlement.com or call 1-866-817-4934 for any updates
about the hearing. The Court may also allow participation at this hearing via video or phone in light of the
COVID-19 pandemic. At the hearing, the Court will consider whether the Settlement is fair, reasonable,
and adequate. The Court will also consider how much Class Counsel will receive in attorneys’ fees and
expense reimbursement, payment for settlement administration costs, and the request for service awards
for the Class Representatives. If there are timely objections, the Court will consider them. The Court may
listen to people who have asked to speak at the hearing (see Question 10). After the hearing, the Court
will decide whether to approve the Settlement. We do not know how [ong these decisions will take.

Questions? Call (866) 817-4934 or visit www.WawaConsumerDataSettlement.com.
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No. Class Counsel will answer any questions the Court may have. You or your own lawyer are welcome
to attend at your expense. If you send an objection, you do not have to come to the Court to talk about it.
As long as you submitted your written objection on time and mailed it according to the instructions provided
in Question 10, the Court will consider it.

If you want to speak at the Fairness Hearing, you must file an objection according to the instructions in
Question 10.

iF You Do NOTHING

lf you do nothing, you will get no compensation from this Settlement and, if the Settlement is approved and
the judgment becomes final, you will not be able to start a lawsuit, continue with a lawsuit, or be part of
any other lawsuit against Wawa concerning the Data Security incident.

GETTING MORE INFORMATION

zes the proposed Settlement. More details are in a Settlement Agreement, which is
on the Settlement website at www.WawaConsumerDataSettlement.com. You may also send questions to
Wawa Consumer Data Settlement, P.O. Box 43502, Providence, RI 02940-3502. You can also get a Claim
Form at the website, by clicking the links at the beginning of this Notice, by scanning the appropriate QR
code at a Wawa location which links directly to the Settlement Website, or by calling the toll-free number,
1-866-817-4934.

Please do not contact the Court or Wawa with questions about the Settlement. Visit the website
or call the number listed above.

Questions? Call (866) 817-4934 or visit www.WawaConsumerDataSettlement.com.
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